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                             EXHIBIT “A”
              The Plan is Provided as a Separate Document
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                             EXHIBIT “B”
                      To be Attached When Entered




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                             EXHIBIT “C”
                              To be Provided




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                                          EXHIBIT D

                                      Liquidation Analysis




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                             EXHIBIT “E”




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Aluminum Shapes USEPA Lead Off-Site Environmental Liability CERCLA §106 Sites


•     Ewan Superfund Site, Shamong Township, NJ


             o   National Priorities List Site; EPA ID #NJD980761365
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 2.42% cap
             o   Natural Resource Damages: (complaint filed)∗


•     D’Imperio Superfund Site, Hamilton Township, NJ


             o   National Priorities List Site; EPA ID #NJD980529416
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 1.86% cap
             o   Natural Resource Damages: (unknown at this time)


•     Swope Oil and Chemical Company Superfund Site, Pennsauken Township, NJ


             o   National Priorities List Site; EPA ID #NJD041743220
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs:
             o   Natural Resource Damages: (unknown at this time)




∗
    This claim is a NJDEP Claim.
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II. Aluminum Shapes USEPA Lead Off-Site Environmental Liability Non-CERCLA §106
    Sites


•   Puchack Wellfield, Pennsauken Township, New Jersey*


           o   National Priorities List Site; EPA ID #NJD981084767
           o   USEPA Estimated Costs – $17,000,000.00
           o   Aluminum Shapes Estimated Percentage Share of Costs
           o   Natural Resource Damages: (unknown at this time)


•   Lightman Drum Company Site, Winslow Township, NJ
          o CERCLA ID #02-2000-2034
          o USEPA Estimated Costs:
          o Aluminum Shapes Estimated Percentage Share of Costs: 1.90%
          o Natural Resource Damages: (unknown at this time)


•   Chemical Control Corporation, Elizabeth, NJ


           o National Priorities List Site; EPA ID #NJD000607481
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             less than .0467% (believe Aluminum Shapes may have previously settled)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)


•   Berks Associates/Douglassville Disposal, Douglassville, PA


           o National Priorities List Site; CERCLIS ID #PAD002384865
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             0.15283% of past costs, 0.07803% future costs (Aluminum Shapes may have
             previously settled for $119,975.98 – awaiting confirmation)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)



*      This site is also subject to NJDEP directives.
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III.   Aluminum Shapes New Jersey Department of Environmental Protection Lead Off-
       Site Environmental Liabilities




                                     - NONE -
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IV.      State Environmental Claims and Environmental Litigation


•     9000 River Road, NJDEP 1992 Directive and Notice to Insurers


             o Directed Aluminum Shapes to identify and address all sources contributing to
               chromium contamination in the soil and groundwater at Aluminum Shapes’
               facility and to prevent migration of chromium contamination.
             o Aluminum Shapes and NJDEP entered into a Memorandum of Agreement dated
               June 23, 1993 in which Aluminum Shapes agreed to undertake remedial activities
               and to pay 80% of the cost of performing those activities. Remediation at the site
               is ongoing.


•     Harris v. Advanced Supply Process Company, et al.; Superior Court of New Jersey, Camden
      County, Law Division, Docket No.: L-03815-02


             o Class action lawsuit in which Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that Aluminum Shapes was negligent in the operation of its metal
               plating business resulting in the discharge of hazardous substances to soil and
               groundwater.


•     Pennsauken Solid Waste Management Authority, et al. v. Ward Sand Material Co., Inc., et
      al., Superior Court of New Jersey, Camden County, Law Division, Docket No.: L-13345-91


             o Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that defendants are responsible for the surface and groundwater
               contamination at the Pennsauken Landfill.




•     Buzby Brothers Landfill, Voorhees, NJ


             o Not a National Priorities List Site: EPA ID #NJD000305524
             o USEPA Estimated Costs:
             o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor
               (Aluminum Shapes may have previously settled for $60,000 subject to
               confirmation)
             o Natural Resource Damages: (yes, complaint filed)
             o (Liability may be resolved pursuant to a consent decree or settlement agreement,
               and subject to confirmation)
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                                          EXHIBIT F

                                  Current Financial Information




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Shapes/Arch Holdings, LLC
Consolidate Profit and Loss Statement


                                        ACTUAL            ACTUAL            ACTUAL
                                         Jan-08            Feb-08           2 Months
SALES
 SALES                              $     19,536,386 $      19,200,547 $      38,736,933
 INTER-COMPANY ELIMINATIONS               (2,131,000)       (1,937,000)       (4,068,000)
 NET SALES                          $     17,405,386 $      17,263,547 $      34,668,933

COST OF SALES
 MATERIAL COST                            12,824,404        11,873,000        24,697,404
 INTER-COMPANY ELIMINATIONS               (2,258,000)       (2,064,000)       (4,322,000)
 MANUFACTURING EXPENSES                    5,177,330         5,059,600        10,236,930
                                          15,743,734        14,868,600        30,612,334

GROSS PROFIT                        $      1,661,652 $       2,394,947 $       4,056,599
 MATERIAL COST %                              65.64%            61.84%            63.76%
 GROSS PROFIT %                                9.55%            13.87%            11.70%

OPERATING EXPENSES
 DELIVERY EXPENSES                           910,000           963,000         1,873,000
 SELLING EXPENSES                            759,500           767,700         1,527,200
 DEPRECIATION/AMORTIZATION                   778,000           764,000         1,542,000
 GENERAL & ADMINISTRATIVE                  1,507,170         1,452,700         2,959,870
 INTER-COMPANY ELIMINATIONS                   (6,000)           (6,000)          (12,000)
 TOTAL OPERATING EXPENSES                  3,948,670         3,941,400         7,890,070

OPERATING INCOME                    $     (2,287,018) $     (1,546,453) $     (3,833,471)

INTEREST EXPENSE                            319,000           266,000           585,000

OTHER INCOME                                 157,000           145,000           302,000
 INTER-COMPANY ELIMINATIONS                 (133,000)         (133,000)         (266,000)
NET OTHER INCOME                              24,000            12,000            36,000

EXTRAORDINARY ITEMS                                -                 -                  -

PRETAX NET INCOME                   $     (2,582,018) $     (1,800,453) $     (4,382,471)

EBITDA                              $     (1,485,018) $       (770,453) $     (2,255,471)
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Shapes/Arch Holdings, LLC
Monthly Balance Sheet




Assets                             12/31/07           1/31/08            2/29/08
Cash                         $              -     $            -     $            -
Accounts Receivable                  21,684,000         23,877,000         29,167,000
Inventory                            45,871,000         44,044,000         44,302,000
Prepaids                              1,420,000          1,261,000          1,345,000
Current Assets               $       68,975,000   $     69,182,000   $     74,814,000

Net PPE                              67,565,000         67,214,000         66,802,000

Other Asset                             579,000            560,000            541,000

Total Assets                 $      137,119,000   $    136,956,000   $    142,157,000


Liabilities
Accounts Payable                     27,988,000         31,268,000         35,663,000
Accrued Expenses                      5,454,000          4,637,000          6,142,000
Current Liabilities          $       33,442,000   $     35,905,000   $     41,805,000

Revolver                             41,693,000         41,815,000         43,081,146
Term Loan                             8,844,000          8,678,000          8,514,000
Subordinated Debt                     5,991,000          5,991,000          5,991,000

Members Equity                       47,149,000         44,567,000         42,765,854

Total Liabilities & Equity   $      137,119,000   $    136,956,000   $    142,157,000
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                             EXHIBIT “G”




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